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Ou §§ié:e;ofl’:lh§€le:g Or MAR 24 2006
ear tree’c CLERK'S OFFICE
New Yorlz, N.Y. lOOOY
(212)805_0136 U.S. D|STR|CT COURT
]. Mic}lael McMallon
€1'
USDC D OF VERMONT Date: 3/21/06
In Re: AOL
MDL 1500
Your Docket # S.D. OF N.Y.
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2106-25 06-2191 _` ¢'> § C:
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Dear Sir: l w 2 __3
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Enclosed is a certified cop of the order of the Judicial Panel on Multidistrict Liti ation,
transferring the above entitled ac ion presently ending in your court, to the Southern istrict
of New York and assigned to Judge KRA for coordinated or consolidated pretrial
processing pursuant to 28 USC 140 .

Please return the conéof this letter when transmitting YOUR F|LE and a CERT|F|ED
COPY OF THE DOCKET S ET.

Sincerely,

yael McMahon é)/

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_`\`__M..,_BEF@RE THE JUDIClAL PANEL ON MUL TIDISTRICT LITIGA TIGN

IN RE AoL TlME WARNER INC. sEcURITIEs & "ERlsA " LITIGA TIoN
(sEE A TTA` CHED sCHED ULE)

CUNDITIONAL TRANSFER ORDER (CTO-4)

On December 16, 2002, the Panel transferred three civil actions to the United States District
Court for the Southern District of New York for coordinated or consolidated pretrial proceedings
pursuant to 28 U.S.C. § 1407. Since that time, five additional actions have been transferred to
the Southern District of New York. With the consent of that court, all such actions have been
assigned to the Honorable Shirley Wohl Kram.

It appears that the actions on this conditional transfer order involve questions of fact which are

common to the actions previously transferred to the Southern District of New York and assigned
to Judge Kram.

Pursuant to Rule 7.4 of the Rules of Procedure of the Judicial Panel on Multidistrict Litigation,
199 F.R.D. 425, 435-36 (2001), these actions are transferred under 28 U.S.C. § 1407 to the
Southern District of New York for the reasons stated in the order of December 16, 2002, 235
F.Supp.Zd 1380 (J.P.M.L. 2002), and, with the consent of that court, assigned to the Honorable
Shirley Wohl Kram.

This order does not become effective until it is filed in the Off`ice of the Clerk of the United
States District Court for the Southern District of New York. The transmittal of this order to said
Clerk shall be stayed fifteen (15) days from the entry thereof and if any party files a notice of
opposition with the Clerk of the Panel within this fifteen (15) day period, the stay will be
continued until further order of the Panel.

 

 

|nasmuch as no objection is FOR THE PANEL;

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stay ls
Migna¢i J._ neck 4 g _, '
MAR 1 7 2006 CleiL¢`of»tbe Panel~;j¢_ ” '~~,
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MlE 2 06-10442
MlE 2 06-10454
MIE 5 06-10455

1 ` Page 1 ofz
SCHEDULE CTO-4 - TAG-AL_ONG ACTIONS
DOCKET NO. 1500
IN RE AOL TIME WARNER INC. SECURITIES & "ERISA" LITIGATION
DIST. DIV. C.A. # CASE CAPTION
ALASKA -
AK 3 06-24 Alaska Electrical Pension and, et al. v. AOL Time Wamer Inc., et al.
CALIFORN!A CENTRAL
CAC 2 06-591 Southern Califomia Lathing Industry Pension Fund, et al. v. AOL Time Wamer, lnc., et al.
CALIFORNIA EASTERN
CAE 2 06-204 Cement Masons Pension Trust for Northern Califomia, Inc., et al. v. AOL Time Wamer, et al.
DISTRIC'I` OF COLUMBIA _
DC l 06-177 I.A.M. National Pension Fund, et al. v. AOL Time Wamer, Inc., et al.
DC l 06-188 Robeco Groep N.V. for Robeco N.V., et al. v. AOL Time Wamer, Inc., et al.
DC l 06-189 Norges Bank v. AOL Time Wamer, Inc., et al.
DC l 06-236 CSS Board ABN16415 776861, et al. v. AOL Time Wamer, Inc., et al.
DC l 06-238 B.S. Pension Fund Trustee, Ltd., et al. v. AOL Time Wamer, lnc., et al.
HAWAII
Hl l 06-7 8 Employees' Retirement System of the State of Hawaii v. AOL Time Wamer, Inc., et al.
ILLlNOIS NORTHERN ‘
lLN l 06-560 Carpenters Pension Fund of Illinois, et al. v. AOL Time Wamer, Inc., et al.
lLN l 06-565 Teachers' Retirement System of the State of Illinois v. AOL Time Wamer, Inc., et al.
KANSAS
KS 2 06-2046 Boilermakers National Health & Welt`are Fund, et al. v. AOL Time Wamer, Inc., et al.
MARYLAND
MD 8 06-291 National Asbestos Workers Pension Fund, et al. v. AOL Time Wamer, Inc., et al.
MICHIGAN EASTERN

Wayne County Employees Retirement System v. AOL Time Wamer, Inc., et al.
Municipal Employees Retirement System of Michigan v. AOL Time Wamer, lnc., et al.
Clinton Township Police & Fire Retirement System, et al. v. AOL Time Wamer, Inc., et al.

MlSSOURI EASTERN
MOE 4 06-184 Carpenters Pension Trust and of St. Louis v. AOL Time Wamer, Inc., et al.
OHIO NORTHERN

OHN l 06-262 United Food & Commercial Workers Union Local 880-Retail Food Employers Joint Pension

Fund, et al. v. AOL Time Wamer, Inc., et al.

PENNS¥LVANIA EASTERN

PAE 2 06-514 National Elevator lndustry Pension F\md v. AOL Time Wamer, Inc., et al.
PENNSYLVANIA WESTERN

PAW 2 06-\24 Beaver County Retirement Board, et al. v. AOL Time Wamer, Inc., et al.
TEXAS NORTHERN

TXN 3 06-220 Laborers National Pension Fund v. AOL Time Wamer, Inc., et al.

 

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DIST. DlV. C.A. # CASE CAPTION
TEXAS SOUTHERN

TXS 4 06-306 Capstone Asset Management Co. v. AOL Time Wamer, Inc., et al.
VERMONT

VT 2 06-25 Vermont State Employees Retirernent System, et al. v. AOL Time Wamer, Inc., et al.
WASHING'I`ON WESTERN

WAW 2 06-169 Carpenters Retirement 'I`rust of Westem Washington, et al. v. AOL Time Wamer, Inc., et al.
WlSCONSTN EASTERN

WIE 2 06-127 Northwestem Mutual Life Foundation, Inc., et al. v. AOL Time Wamer, Inc., et al.
WEST VIRGI`NIA NORTHERN _

WVN l 06-24 Plumbers & Pipefitters Local 152 Pension Fund, et al. v. AOL Time Warrier, lnc., et al.
WEST VIRGINIA SOUTHERN

WVS 2 06-82 Employer-Teamsters Local Nos. 175 & 505 Pension Trust Fund, et al. v.

AOL Time Wamer, Inc.,` et al.

WVS 2 06-100 The West Virginia Laborers‘ Trust Fund, et al. v. AOL Time Wamer, Inc., et al.

